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                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                                TAMPA DIVISION


 UNITED STATES OF AMERICA

 v.                                                       CASE NO: 8:98-cr-228-T-26EAJ

 SHELDON MILBRY,

                      Defendant.
                                           /


                                         ORDER

        UPON DUE CONSIDERATION of the United States Probation Office’s

 Supplemental Presentence Report ordered by the Court at Dkt. [1245] , as well as the

 parties’ Joint Stipulation Regarding Retroactive Application of Revised Cocaine Base

 Sentencing Guidelines at Dkt. [1264], it is ORDERED AND ADJUDGED as follows:

        1)     The Court finds that Defendant is eligible and suitable for a reduction in his

 base offense level pursuant to Amendments 706 and 711 of the United States Sentencing

 Guidelines.

        2)     The Court hereby reduces Defendant’s sentence as to Count One from a

 period of 140 months to a period of 130 months, or time-served, whichever is greater.

 See USSG § 1B1.10(b)(2)(C).

        3)     The Judgment in a Criminal Case (Dkt. 916) is amended to reflect this

 reduction.
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        4)     In the event Defendant is eligible for immediate release as a result of the

 reduction of his sentence, the Bureau of Prisons shall not release Defendant until ten (10)

 days after the entry of this Order, or March 3, 2008, whichever is later.

        DONE AND ORDERED at Tampa, Florida, on February 29, 2008.



                                      s/Richard A. Lazzara
                                    RICHARD A. LAZZARA
                                    UNITED STATES DISTRICT JUDGE


 COPIES FURNISHED TO:
 Counsel of Record
 U.S. Probation
 U.S. Marshal
 Bureau of Prisons




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